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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                     Case No. 92-cr-81058-21
                                                     Hon. Matthew F. Leitman
v.

D21, RONALD HUNTER,

     Defendant.
__________________________________________________________________/

ORDER GRANTING DEFENDANT’S MOTION TO STRIKE (ECF No. 990)
AND DENYING MOTION FOR ENTRY OF A WRIT CONFIRMING THE
     NATURE OF DEFENDANT’S CONVICTION (ECF No. 1025)

      Now pending before the Court are two motions. The Court resolves them as

follows:

      1.     Defendant’s motion to strike letters to the Court is GRANTED. The

letters were filed at a time that they could not be used in a pending proceeding in

this Court, and the Government disclaimed any intention to use the letters on appeal

(if it could even do so given the time of their filing). Accordingly (and for the

reasons set forth in the motion), the Court concludes that the letters do not properly

belong on the docket. The Court therefore orders the Clerk to STRIKE the letters.

      2.     Defendant’s letter-motion for entry of a writ clarifying the nature of his

conviction is DENIED.       Defendant says that he seeks this relief based upon

descriptions of his conviction in decisions issued by the United States Court of


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Appeals for the Sixth Circuit. This Court does not clarify statements by the Sixth

Circuit. Moreover, Defendant has not shown any compelling need for clarification,

nor has he persuaded the Court that a motion under the All Writs Act is the

appropriate vehicle for seeking clarification of the nature of his conviction.

      IT IS SO ORDERED.

                                        s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: June 24, 2022

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 24, 2022, by electronic means and/or ordinary mail.

                                        s/Holly A. Ryan
                                        Case Manager
                                        (313) 234-5126




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